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               IN THE UNITED STATES BANKRUPTCY COURT FOR
                   THE NORTHERN DISTRICT OF MISSISSIPPI

IN THE MATTER OF:                                              CHAPTER 13 CASE NO.:

DARRELL L. BRADLEY and                                         18-13868-JDW
LATONYA PEGUES

                          OBJECTION TO CONFIRMATION

       COMES NOW Locke D. Barkley, Chapter 13 Trustee, by and through counsel,
and files this Objection to Confirmation (the “Objection”) and in support states as
follows:

       1.     The Debtors initiated this proceeding with the filing of a voluntary
petition for relief on October 4, 2018. An amended Chapter 13 plan (Dkt. #24) (the
“Plan”) was filed on December 8, 2018.

       2.     The Debtors are below median income and have proposed a plan term of
60 months with no distribution to nonpriority unsecured creditors.

       3.     According to Schedules I and J (Dkt. #7) and Amended Schedule J (Dkt.
#23) the Debtors’ monthly net income is $767.75, which is the minimum amount that
should be paid by the Debtors into their bankruptcy case for the benefit of all creditors.

       4.     The Plan states the necessary plan payment will be $750.00 per month;
however, that calculation is incorrect. The correct calculation of the monthly plan
payment is $680.00.

       5.     The Plan does not provide for payment of all of the Debtors’ projected
disposable income to be paid into the Plan for the benefit of nonpriority unsecured
claims as required by §1325(b)(1)(B).

       6.     The Plan payment must be set at the Debtors’ monthly income,
approximately $760.00, and Section 5.1 amended to provide that nonpriority unsecured
claims will be paid the funds remaining after disbursements have been made to all
other creditors provided for in the Plan.

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       7.     The Trustee requests that confirmation of the Plan be denied. Should the
Debtor be delinquent in plan payments at the time of the hearing on this Objection, the
Trustee also requests that the bankruptcy case be dismissed.

       WHEREFORE, PREMISES CONSIDERED, Locke D. Barkley, Chapter 13 Trustee,
prays that upon notice and hearing that this Court enter its order sustaining the
Trustee’s Objection and for such other relief to which the Trustee and this bankruptcy
estate may be entitled.

       Dated: January 4, 2019

                                           Respectfully submitted,
                                           LOCKE D. BARKLEY, TRUSTEE

                                           BY: /s/ W. Jeffrey Collier
                                           W. JEFFREY COLLIER, ESQ.
                                           Attorney for Trustee
                                           6360 I-55 North, Suite 140
                                           Jackson, Mississippi 39211
                                           (601) 355-6661
                                           ssmith@barkley13.com
                                           MSB No. 10645


                                CERTIFICATE OF SERVICE

        I, the undersigned attorney for the Trustee, do hereby certify that I electronically
filed the foregoing with the Clerk of Court using the CM/ECF system, and I hereby
certify that I either mailed by United States Postal Service, first class, postage prepaid,
or electronically notified through the CM/ECF system, a copy of the above and
foregoing to the Debtor, attorney for the Debtor, the United States Trustee, and other
parties in interest, if any, as identified below.

       Dated: January 4, 2019

                                           /s/ W. Jeffrey Collier
                                           W. JEFFREY COLLIER




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